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                   EXHIBIT A
          Case 2:21-cv-09782-AB-PLA Document 1-1 Filed 12/17/21 Page 2 of 19 Page ID #:6
                                        2HRCV007W
                       Assi-; ned for a-I purpos-es to: To~am:e ccwl1,cvso. JtJdicial Officer· Gary Tanaka




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 5
          Attorneys for Plaintiff Paydirt Gold, LLC


 7
                          SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 8
                                    COUNTY OF LOS ANGELES
 g


10                                                                       ) CaseNo .              21 T RC-.-.·'OD720
                                                                         )
11:       Paydirt Gold Company, LLC,                                     )
                                                                         ) Complaint for Damages for
12               Plaintiff;                                              )
                                                                         )   1. Breach of Written Contract
13                                                                       )
                 vs.                                                     )        2. Breach of Covenant of Good
14                                                                       )            Faith and Fair Dealing
          Burdock And Associates, Inc. , doing-~                                  3. Professional Negligence
15
          business as Burdock Group, and        )                                 4. Negligence
16        DOES 1 through 50} inclusive,                                  j        5 . Violation of Business &
                                                                                      Professions Code § 6126, et
17                                                                       )
                 Defendants                                              )             seq.
18                                                                       }        6. Violation o.f Business and
                                                                         )           Professions Code § 17200, et
i9                                                                       )
                                                                         )           seq.
20                                                                       )
                                                                         )
21                                                                       )
      I                                                                  )   UNLIMITED JURISDICTlON
72 i -       -------------

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2b
          Plaintiff alleges as follows:
26

27



          Complaint for Damages




                                                                                                                Exhibit A
                                                                                                                 Page 1
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 1
              1.     This is an action brought pursuant to the laws of the State of

 2     California for breach of written contract, breach of the covenant of good faith and
       fair dealing, professional negligence, negligence, violation of Busines and
 3
       Profession Code§ 6126, and violation of Business and Professions Code§
 4
       17200, et seq.
 5
              2,     Plaintiff Paydirt Gold Company, LLC is and was, at all times relevant
 6
       hereto, a limited liability company organized under the laws of the State of
 7     Delaware, with its principal place of business located in the City of El Segundo,
 8     County of Los Angeles, State of California.
 9            3.     Defendant Burdock And Associates, Inc. , doing business as Burdock
10     Group (Burdock Group), is a corporation organized under the laws of the State of
:1     Florida. Through its website and other media Burdock Group advertises itself to
12     residents and businesses in California.
13            4.     Ptaintlff is ignorant of the true names and capacities of Defendants
14     sued herein as DOES 1 through 50, inclusive, and therefore sues these

15     Defendants by such fictitious names. Plaintiff will amend this Comptaint to allege
       their true names and capacities when ascertained. Plalnttff is informed and
16
       believe and based thereon allege that each of the fictitiously named Defendants
       is responsible in some manner for certain occurrences herein alleged, and that
       Plaintiff damages herein alleged were proximately caused by their conduct.
19
              5.     Plaintiff is informed and believe, and based thereon allege, that at all
20     times herein mentioned, Defendants and each of them , were the agents,
21
       partners, managers, officers and employees of each of the Defendants and in
22     doing the things herein alleged, were acting within the scope of such agency,
23     partnership, or employment, and that each Defendant knew of or should have
24     known of and has ratified and approved the acts of his or her agent
25

26
                                 FACTS COMMON TO .A LL ALLEGATIONS
27



       Compfaint for Darn.ages




                                                                                      Exhibit A
                                                                                       Page 2
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             6.     The Burdock Group holds itself out as an expert in regulatory and

 2     labeling issues and compliance, including. regulations and labeling requirements

 3     issued by state and federal governments, including California. The Burdock Group
 4
       advertises its services through its website and other media throughout the nation,
 5
       including Califomla. Specifically, the Burdock Group, through its website and other
 6

 7     media, represents to the public in general, and represented to Plaintiff in particular,

8      that it is an expert in compliance with labeting requirements required by law,
 9
       including, but not limed to, those issued by the Environmental Protection Agency,
10
       the Food and Drug Administration, and the California Air Resources Board (CARS).
11

12 I         7.     During the summer of 2020, Plaintiff entered into a multi-million~dollar

13     contract with a third-party retailer to provide containers of handwipes for the retailer
14
       to sell in its stores to consumers for consumer use. As part of this contract. Plaintiff
15
       represented that the products it was providing to the third~party retailer would
16

17     comply with al[ state and federal laws and regulati.ons. Plaintiff also entered into a

18     multi~miilion-dollar contract with a third-party, overseas manufacturer to
19
       manufacture the containers of handwlpes.
20
             8.     On or about July 23, 2020, Plaintiff entered into a written contract with
21

22     Defendants, and each of them, whereby Defendants agreed to provide their expert.

23     advice and consultation to ensure that handwipe containers would be propeny
24
       labeled to meet all state and federal requirements and all applicable laws for
?5
       consumer use, including:, but not limited to, all EPA, FDA and CARB requirements.
26

27     At all times, Defendants represented to Plaintiff that Defendants had the necessary
                                                   3
       Complaint for Damages




                                                                                          Exhibit A
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 1     expertise and training and credentials to provide such advice. A true and correct

 2     copy ,of the contract bebNeen Plaintiff and Defendants is attached hereto as Exhiblt

 3     A.
 4
             9.     Pl,aintifffollowed Defendants' advice and labeled the handwipe
5
       containers according to Defendants' advice and instructions, Approx.imately four
6

 1     mill:ion containers were shipped to California, where approximately one million were

 8     quickly distributed to and by the third-party retailer to retail stores across the United
 9
       States.
,0

              10.   In October 2020, the third-party retailer contacted Plaintiff because
11

12     CARB had sent a cease-and-desist letter to them advising the third-party reta1,1er

13     that the handwipe containers' labels violated California Consumer Products
14
       Regulations with respect to Volatile Organic Compounds. The third-party retailer
15
       then pulled au the handwipe containers from its shelves, cancelled its orders for the
16

11     remaining wipes. and demanded indemnification from Plaintiff. Because of the

18     improper labeling, Plaintiff cannot sell the handwipe containers to the general
19
       public. As a result Plaintiff has been forced to warehouse the remaining containers
20
       resulting in additional and costly storage fees.
21

22

23
                                    FIRST CAUSE OF ACTION
24
                     (Breach of Written Contract against AH Defendants)
25

26

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                                                   4

       Complaint for Damages




                                                                                         Exhibit A
                                                                                          Page 4
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              11.       Plaintiff restates and incorporates by reference each     and every
 2     allegation contained in Paragraphs 1 through 1o. inclusive, as though fully set
  3    forth herein .
 4            12.       Plaintiff, on one hand,   and defendants, on the other entered into a
                                                                              1



 s     valid written contract for competent advice as to the labeling requirements
 o     required by law for Plaintiff's handwlpe containers as evidence by the attached
 7     ExhibitA.
 a            13,       Pursuant to the terms of the agreement. Defendants were required
 s     to provide competent advice and instruction as to all labeling requirements
rn     required under state and federal law. Further, Defendants represented that they
11     would provide such advice.
1, 2          14.       Plaintiff has performed fully each and all of the conditions,
1s     covenants, and obligations imposed upon Plaintiff under the terms of the
14     Contract.
15
              15.       Defendants, acted 1n a manner that demonstrated that defendants
16     understood the terms of the contract and knew what was intended to be done
17      under the   contract
18            16.       Defendants and each of them materially breached their agreements
rn     with Plaintiff in numerous respects as described above by failing to provide
20 ,    Plaintiff with competent advice as to the labeling requirements required by law for
       Plaintiffs product.

22 f          17.       As a direct and proximate result of defendants,· and each of them,

23      breach of contract, Plaintiff has been damaged in a sum that cannot be
        ascertalned at present, but which is believed to be in excess of the jurisdictional
       limit of the Court and is estimated to be over $10,000 ,000. Plaintiff will seek
25
       l-eave to amend this complaint when the exact amount of damage has been
2a
        ascertained.

                                                       5
        Complaint for Damages




                                                                                              Exhibit A
                                                                                               Page 5
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  2
                                   SECOND CAUSE OF ACTION
  3
                           (Breach of Covenant of Good Faith and Fair
 4
                                 Dealing against AU Defendants)
  s          18.      Plaintiff restates and incorporates by reference each and every
 6    allegation contained in Paragraphs 1 through 17, inclusive, as though fully set
 7    forth herein.
 8           19.      At all times relevant herein . Defendants agreed to act in good faith
 9    and to deaf fairly with Plaintiff when they entered into the contract described

10    above. In entering into the contract, (a) Plaintiff entered into the contract to

11    secure peace of mind and for its economic benefit; (b} Plaintiff relied upon the
      alleged good faith and good name of defendants to carry out their obligations
12
      under the contract Nevertheless, defendants refused and fail-ed to act in good
13
      faith and deal fairly with Plaintiff and breached their obligations in numerous
14
      respects as described above.
15
            20.       Without a reasonable basis for doing so, and with fuU knowledge
16    and/or reckless disregard of the consequences, defendants faBed to provide
17
      competent advice as to the proper labels required for Plaintiff's product as
18    described above. Defendants also acted against Plaintiff economic benefit and
rn    to Plaintiff's detriment in the doing. the acts described above.
20          21.       Furthermore, Defendants' conduct was done with the knowledge
21    that Plaintiff' financial distress would thereby increase and was done with a
22    wanton and reckless disregard of tne consequences to Plaintiff.

.23         22.       As a direct and proximate result of Defendants,' and each of them ,

24    breach o.f the covenant of good falth and fair dealing, Plaintiff has been damaged
      in a sum that cannot be ascertained at present, but wh ich is believed to be in
25
      excess of the jurisdictional limit of the Court. Plaintiff will seek. leave to amend
2.6

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                                                  6

      Complaint for Damages




                                                                                       Exhibit A
                                                                                        Page 6
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       this complaint when the exact amount of damage to Plaintiff has been
 1
       ascertained.
 2
              23.      Defendants did not commit these acts out of any sincere or proper
 3
       motive, but did so maliciously, oppressively and fraudutently in the manner and
 4
       respects alleged above so as to justify an award of punitive damages.
 5

 6

 7 I                                 THlRD CAUSE OF ACTION
                                      (Professional Negligence
 8

 g                                    against AU Defendants)

io            24.      Plaintiff restates and incorporates by reference each and every
11     allegation contained in Paragraphs 1 through 23, inclusive, as though fuUy set
12     forth herein.

13            25.      Defendants and each of them advised Plaintiff In labeling Plaintiffs
14     product. In undertaking the advising of Plalntlff in all regards to the labeling of
-: s   Plaintiffs product, defendants had a duty to use such diligence, skill, prudence
16     and care which experts of ordinary skrll and capacity commonly possess and
-n     use.
18            26.      Defendants failed to use reasonable diligence, skill. prudence and
19     care in the advice they gave about labeling Plaintiff's product in that they failed to
20     fully advise as to the requirements for legally sufficient tabels to ensure that
21     Plaintiffs labels were legally sufflcient. In agreeing to advise Plaintiff,
n      Defendants ignored the extent to which their fallure to adequately and properly

23     advrse Plaintiff would affect Plaintiff, the foreseeability of harm to Plaintiff and the
24     degree of certainty that Plaintiff would suffer injury,
25            27 .     As a proximate result of defendants' professional negligence,
26     Plaintiff has been damaged in an amount not yet ascertained. Plaintiff wrn seek

27
                                                   7

       Complaint for Damages




                                                                                           Exhibit A
                                                                                            Page 7
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  1   leave of court to amend this complaint to state the exact amount of damages
 2    when it has been ascertained.
 3

 4

 5                                FOURTH CAUSE OF ACTtON
 6
                               (Negligence against All Defendants)

 1           28.      Plaintiff restates and incorporates by reference each and every
 a    allegatlon contained in Paragraphs 1 through 27,. inclusive, as though fully set
 9    forth herein.
10           29.      In undertaking to advise Plaintiff in all regards to the labeling of the
11    products, defendants had a duty to use such diligence, skilt, prudence and care
12    which experts of ordinary skill and capacity commonly possess and use.
13           30.      Defendants failed to use reasonable diHgence, ski.II, prudence and
14    care in advislng Plaintiff about the labeling of Plf.ilntiff s products in that they
1s    failed to properly advise Plaintiff about the legal requirements for such labels.
rn    Such material information the legal requirements for Plai·ntiff s labels would have·
11    been given by experts of ordinary skill and capacity . Further, defendants
rn    blatantly ignored the extent to which thelr failure to properly advised Plaintiff
19    would affect Plaintiff, the foreseeability of harm to PtalnUff and the degree of
20    certainty that Plaintiff would suffer inj ury.
21           31 .     As a proximate result of defendant's negligence, plaintiff has been
22    damaged in an amount not yet ascertained. PlainUff will seek. leave of court to
23    amend this complaint to state the exact amount of damages when it has been
:ia   ascertained.
26

26
                                     FIFTH CAUSE OF ACTION
27
                                                       8

      Complaint for Damages




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                                                                                          Page 8
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                          (For violation of Busines and Profession Code§ 6126
                              against all Defendants and Does 1 through 50)
 2
                 32.       Plaintiff restates and incorporates by reference each and every
 3
          allegation contained in Paragraphs 1 through 31, inclusive, as though fully set
 4
          forth hereln.
 5
                 33.       As described above, defendants and each of them advised Plaintiff
 6
          as to the law and legal requirements regarding the labeling of products in
 7        Cafifornia. Such advice constituted the unlawful practice of law in California in
 a        that Defendants were not licensed by the State of California to practice law.
 9               34.       As a direct, foreseeable, and proximate result of the wrongful acts by
10        Defendants; P!aintiff has suffered and will continue to suffer incidental and
,r        consequential damages and losses, all in an amount to be proven at time of trial.
12        Pl.aintiff claims such amount as damages together with prejudgment interest
n     I   pursuant to Civil Code § 3287 and any other provision of law providing for

14
          prejudgment interest

15
      r
16    !                                  SIXTH CAUSE OF ACTION

17                       (Violation of Business and Professions Code§§ 17200 et seq.
                              against AU Defendants and DOES 1 to 100, iinclusive)

19               35,       Plaintiff restates and incorporates by reference each and every
20        allegation contained in Paragraphs 1 through 34, inclusive, as though fully set

21        forth herein .

22        I      36.       I~ doing the above act_s described above, ~efendants ~nga~ed in
23        1unlawful,    unfair and fraudulent busmess prachces prohrbrted by Cahforn1a
2<1       Business and Professions Code §§ 17200 et seq.
25               37..      As a direct and proximate result of Defendants,' and each of them,

26        wrongful conduct in violating these statutes, Plaintiff has been damaged in a sum

27 ·      that cannot be ascertained at present but which is believed to be in excess of
                                                       ')

           Complaint for Damages




                                                                                             Exhibit A
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 1    the jurisdictional limit of the Court. Plaintiff will seek leave to amend this
 2    complaint when the exact amount of damage to Plaintiff has been ascertained.
 3    Plaintiff claims such sums together with pre-judgment interest and attorneys' fees
 4    pursuant to statute including Business and Professions Code§ 17200 et seq.

 5           38.     Defendants did not commit these acts out of any sincere or proper
 6    motive, but did so maliciously, oppressively and fraudulently in the manner and
 7    respects alleged above so as to justify an award of punitive damages
 8

 9
      WHEREFORE, Plaintiff demands judgment against Defendants as follows:
10
              1.     For economic damages lncluding, but not limited to. lost earnings,
11

12    benefits, opportunities, in the amount of $15 ,000.000.00;

13           3.      For consequential damages including damage to Plaintiff name
1'4
      brand in the amount of $10,000,000.00;


16           4.      For exemplary and punitlve damages in the amount of
              $1,000,000.00;
18            5.     For costs of suit; and

19            6.     For such further relief as the Court deems just and proper.

20

21
      Plaintlff further request a trial by jury on afl triable issues.
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                                                   10

      . Complaint for Damages




                                                                                       Exhibit A
                                                                                       Page 10
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                                         LAW OFFICES OF THOMAS GARTER

 2


 3        DATED: October 1, 2021         By:     T ~ p CAf-'fe-Y'
 4                                              Thornas P. Carter
                                                Attorney for Plalntiff
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          Complaint for Damages




                                                                            Exhibit A
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                                                                                                                                                                                                                                                                           SUM-100
                                                         SUMMONS                                                                                                                                                              ran COURr USf ONL ,·
                                                                                                                                                                                                                         (SOI O /'ll!R'A 1/50 OE I 4 C,)Hfl;)
                                               (CJTACION JUDICIAL)

NOTICE TO DEFENDANT:
(A VJSO AL DEMANDA DO):
 8u'<.c::k. .A,•~d Associates, Inc. :ioing ousmess .as f:lur.:iock Group a'ld DOCS 1 t'lrol:gh 50,
 lnclus.vr:
YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                                                                                                                             I 1/ l°'j'i-1                               'fl1-..
(L.O ESTA DEMANDANDO EL DEMANDANTE):
 Paydirt Golo• Com.oany, LLC

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                    PLEASE HAVE THE FOLLOWING lTEMS COMPLETED ANO READY TO BE Fl LEO IN ORDER TO
                                     PROPERLY COMMENCE YOUR NEW COURT CASE:

               ;.    OngiMi ComptEJir.1 or Peiilion.

               2     ·r f11ing       r. Complciir.l. a comr:Lolccf Summons 'mm foriss::ance by :ho Cieri-!.,

               3.    Civil Cas,e C,y,er Sheet form CM-010.

               4.    Cnmple!e Addenc!tm1 to Ci•;il Ctise c1:1,1ar St,ef:t form LASC Apµw,ed CIV 109 C3-04 {Rov. 03./05).

               5.    ::ic1yment 1n £..;[ o! !re fi!i1lg t<;t; . U"i!ess feas have: been waiv~d.
               G     Si;inecl order appoint:ng the Gwm:!.a.n a.Cl Utom, JC f(Jl·m !:JB2 1,a.)(2:7}. if thn plahtiff or i:;ctitioner                                                             1s a m'nor
                     Lnuer '8 yaa s of age, (:r i'.' req.1ired by Court.

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    .L A~;-- A;,p!l·. Gd                                               A.ND STATEMENT OF LOCArlON                                                                                                   PiJ(I0 4 01 4




                                                                                                                                                                                                        Exhibit A
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